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                                                     May 18, 2022

Via ECF
Hon. Alvin K. Hellerstein
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

Re:    Pizarro v. Euros El Tina Restaurant Lounge and Billiards Corp., 20-cv-05783-AKH
       Roster of Attorneys for Friday’s Conference

Dear Judge Hellerstein:

       In accordance with the Court’s instructions, I submit this roster of attendees for Friday’s
conference in the above-referenced matter:

Evan Brustein (Counsel for Plaintiff)
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                                                     Respectfully submitted,

                                                     /s/ Mark Marino

                                                     Mark Marino
